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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

JONATHAN PAUL CATLIN,
Plaintiff,
V.
INTEGRITY SOLUTION SERVICES, INC.,

Defendant.

Civil Action No. 16-cv-6147

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Jonathan Paul Catlin, and

Defendant, Integrity Solution Services,

Inc. n/k/a Central Credit Services, LLC

(Integrity), hereby jointly stipulate to the dismissal with prejudice of Plaintiff’s claims

against Integrity, with each side to bear its own fees and costs.

Dated: GE] e_, 2016

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n/k/a Central Credit Services, LLC

 
